
The trial court correctly rejected the plaintiffs' claim. The plaintiffs claim that by working more than 20 hours per week as lunchroom workers and at the same time working less than 20 hours per week as custodians entitles them to a hearing before the custodial employment can be terminated under the Fair Dismissal Act, §§ 36-26-100 to -108, Ala. Code 1975. The Act covers nonteacher employees of a school system who work 20 or more hours per week. The majority holds that the two positions, lunchroom worker and custodian, were in fact one position with two duties, and that the plaintiffs are entitled to a hearing because they met the 20-hour-work-week minimum. The case was tried ore tenus and the trial court determined the two positions to be two different jobs.
The cases cited by the majority are clearly distinguishable from this case. Both Ledbetter v. Jackson County Board ofEducation, 508 So.2d 244 (Ala. 1987), and Carter v. BaldwinCounty Board of Education, 532 So.2d 1017 (Ala.Civ.App. 1988), involved merely a reduction in work hours for a single position. In Ledbetter, a lunchroom worker's hours were reduced from 35 to 30 per week. The employee worked more than 20 hours per week in one position or capacity. She clearly had a property interest in her employment and was, therefore, entitled to a hearing pursuant to the Act. In Carter, the employees had "dual duties including cafeteria work, custodial work, [work as] teachers' aides, and driving buses." 532 So.2d at 1018. In both Ledbetter and Carter, the employee had one job that exceeded 20 hours.
In this case, Green and Rich each received separate paychecks, separate raises, and separate leave benefits, and each kept separate logs for the two separate types of employment. They clearly held two different jobs. The superintendent of education for Etowah County testified that the positions held by the plaintiffs were separate positions, that the custodial position was only a part-time job, and that the hours for that position were less than 20 hours per week. The Fair Dismissal Act covers nonteacher employees of a school system who work 20 or more hours a week. Green and Rich were clearly not covered by the Act and, thus, had no right to a hearing on their termination.